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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                       MDL No. 2924
    PRODUCTS LIABILITY                                                                20-MD-2924
    LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

                                             /

    THIS DOCUMENT RELATES TO:

    Campion v. GlaxoSmithKline LLC, et al., No. 24-cv-80265 (S.D. Fla.).
    Cusick v. GlaxoSmithKline LLC, et al., No. 24-cv-80271 (S.D. Fla.).
    Rascento v. GlaxoSmithKline LLC, et al., No. 24-cv-80264 (S.D. Fla.).
    Rounds v. GlaxoSmithKline LLC, et al., No. 24-cv-80266 (S.D. Fla.).

                   MOTION FOR LEAVE TO FILE A MOTION TO REMAND

        Above-captioned Plaintiffs (“Plaintiffs”), by and through undersigned counsel, move for

   leave to file a Motion to Remand pursuant to Amended Pretrial Order # 24. This Motion is

   unopposed and is filed pursuant to the Court’s approval of the Parties stipulation. Dkt # 7249.

   The Motion to Remand, which is attached, seeks remand of four cases that were originally filed

   in Delaware state court and illegally removed to federal court.

        The Court should grant leave and permit the immediate filing of the motion because subject

   matter jurisdiction be resolved at the “earliest possible stage of the proceedings.” Am. Civil

   Liberties Union of Fla., Inc. v. City of Sarasota, 859 F.3d 1337, 1340 (11th Cir. 2017) (emphasis

   added) (quoting Univ. of S. Alabama v. Am. Tobacco Co., 168 F.3d 405, 409–10 (11th Cir.

   1999). Considering the advanced stage of this litigation, resolving this remand issue is

   important, as it will inform the underlying Parties about the propriety of removal in other

   pending actions in Delaware state court, of which there are over 70,000 pending cases related to

   oral NDMA exposure from ranitidine and cancer.


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                      CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3)

        Pursuant to Local Rule 7.1(a)(3), the undersigned, on behalf of Plaintiffs, conferred with all

   parties or non-parties who may be affected by the relief sought in the motion in a good faith

   effort to resolve the issues raised in the motion and has been unable to do so.



   Dated: April 9, 2024                          Respectfully submitted,

   /s/ R. Brent Wisner__________                 /s/ Jennifer A. Moore______________
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                                         Attorneys for Plaintiffs




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 9th day of April, 2024, the foregoing was filed electronically

    through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.



                                                /s/ R. Brent Wisner
                                                     R. Brent Wisner, Esq.




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